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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


IN RE TEVA SECURITIES LITIGATION       No. 3:17-cv-558 (SRU)
____________________________________

THIS DOCUMENT RELATES TO:              No. 3:19-cv-657 (SRU)
                                       No. 3:19-cv-513 (SRU)
                                       No. 3:19-cv-923 (SRU)
                                       No. 3:19-cv-655 (SRU)
                                       No. 3:19-cv-1167 (SRU)
                                       No. 3:20-cv-83 (SRU)

                                       March 5, 2021

                     DEFENDANTS’ OPPOSITION TO
           PLAINTIFFS’ JOINT MOTION FOR RECONSIDERATION




ORAL ARGUMENT NOT REQUESTED
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        Pursuant to Local Rule 7(c) and the Court’s February 17, 2021 order (ECF 709),

Defendants submit this opposition to the motion for reconsideration (ECF 707 & 707-1) (the

“Motion”) submitted by the plaintiffs in the six above-captioned actions (collectively,

“Plaintiffs”). 1

                                 PRELIMINARY STATEMENT

        Plaintiffs’ Motion seeks reconsideration or, in the alternative, interlocutory review of this

Court’s January 22, 2021 order (ECF 689) (the “Order”). Plaintiffs have not shown entitlement to

either type of exceptional relief, and both requests should be denied.

        Parties may not “use a motion for reconsideration to re-argue prior issues that have already

been decided, present ‘new theories’ or arguments that could have been raised earlier, seek a new

hearing on the merits, or otherwise take ‘a second bite at the apple.’” Cooke v. Deschaine, No.

3:16-CV-138 (SRU), 2017 WL 1628400, at *2 (D. Conn. Apr. 28, 2017) (quoting Analytical

Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012)). Plaintiffs’ Motion violates

this fundamental precept, and Plaintiffs impermissibly treat “the court’s initial decision as the

opening of a dialogue,” rather than the resolution of disputed issues. Nicaj v. City of New York,

282 F. Supp. 3d 708, 714 (S.D.N.Y. 2017) (quoting Estate of Gottdiener v. Sater, 35 F. Supp. 3d

402, 403-04 (S.D.N.Y. 2014)). Having failed to advance any proper grounds for reconsideration,

Plaintiffs’ Motion should be denied.

        As Plaintiffs admit, Plaintiffs’ Motion was not timely filed. See infra, § I(B). Further, it

attempts to relitigate an issue this Court already decided. See infra, § I(C). In addition, it advances

arguments that Plaintiffs did not timely brief. See infra, § I(D). The Court can and should deny


1
 The Order dismissed claims in nine of the direct actions. Only six of those direct-action plaintiffs
seek reconsideration (although seven case numbers are listed in the Motion’s caption because
Midgal Mutual Funds, No. 3:19-cv-00923, is listed twice). See Mot. at 1 n.1. The plaintiffs in
Schwab, Stichting, and Boeing do not seek reconsideration.

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reconsideration for these threshold reasons.

        To obtain reconsideration, Plaintiffs are required to identify an intervening change in the

law, newly discovered evidentiary material, or a clear error of law or manifest injustice. Martin v.

Dupont Flooring Sys., Inc., No. 3:01-CV-2189 (SRU), 2004 WL 1171208, at *1 (D. Conn. May

25, 2004). Plaintiffs do not even attempt to identify a jurisprudential change or new evidence.

Plaintiffs also have not shown that this Court made a clear error of law or perpetrated a manifest

injustice. Plaintiffs rely on the Supreme Court’s scheme-liability decision in Lorenzo v. S.E.C.,

139 S. Ct. 1094 (2019). But Lorenzo is irrelevant. First, plaintiffs failed to even plead scheme

liability, as this Court concluded in its Order. Second, Plaintiffs’ argument that Lorenzo expanded

the scope of scheme liability is irrelevant to the repose issue decided by the Court. Mot. at 1.

Indeed, Plaintiffs are asking this Court to be the first court in the country to apply Lorenzo to render

timely alleged violations of the securities laws that would otherwise be deemed untimely.

        Notably, in seeking reconsideration, Plaintiffs do not point to any recent authority within

the Second Circuit adopting their view of scheme liability in warding off dismissal on repose

grounds under Section 1658(b)(2). In fact, to support their request for reconsideration, Plaintiffs

do not point to any case at all that adopts their view on this issue. See Mot. at 3-7. So even

assuming arguendo that Plaintiffs’ interpretation of Lorenzo is correct, Plaintiffs have not shown

anything to suggest this alters the Order’s repose ruling, let alone suggest that the Court has made

an error that is clear or “direct, obvious, and observable.” Dingwell v. Cossette, No. 3:17-CV-

01531 (KAD), 2021 WL 413619, at *1 (D. Conn. Feb. 5, 2021) (citation and quotation omitted)

        For all these reasons, the Court should deny reconsideration.

        The Court should also deny Plaintiffs’ alternative request for interlocutory review.

Plaintiffs fail to satisfy any of the statutory criteria that justify such an extraordinary relief. See 28




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U.S.C. § 1292(b). First, the Order does not involve a controlling question of law. See infra,

§ II(B)(1). Plaintiffs claim that interlocutory review would clarify the scope of discovery, but

reversal of the Order would have little effect, if any, on discovery. The Court’s consolidation order

makes this obvious: The Ontario plaintiffs are taking discovery on the full universe of alleged

violations, and the direct-action plaintiffs play a secondary role in that discovery process. So

regardless of whether the Order is affirmed or reversed, discovery will be essentially the same.

Plaintiffs also overstate the impact that an appellate ruling would have on other cases. Indeed, the

argument that interlocutory review would “resolve this important issue” (Mot. at 10) ignores that

this issue has been effectively resolved within the Second Circuit since 2013.

       Second, there is no substantial ground for difference of opinion. See infra, § II(B)(2). As

the Court acknowledged, over the past several decades, courts in this Circuit have reached different

conclusions on the repose issue decided in the Order—but crucially, there has been unanimity on

this issue since 2013. So there is no recent conflicting authority on the repose issue. Likewise,

this issue is not particularly difficult and is clearly not one of first impression within the Second

Circuit. The long line of cases dismissing securities claims as untimely under Section 1658(b)(2)’s

statute of repose show as much. See Mot. to Dismiss (ECF 464) at 4-5 (collecting cases); see also

Order at 14 (discussing “cases in which district courts within the Second Circuit have granted the

precise relief that the Repose Defendants” sought in their motion to dismiss).

       Third, interlocutory review will not materially advance the ultimate termination of the

litigation. See infra, § II(B)(3). In fact, immediate review would achieve precisely the opposite

result and only prolong proceedings. Plaintiffs’ argument presumes that the Second Circuit would

reach a different conclusion on the repose issue addressed in the Order, but reversal is unlikely.

Indeed, the recent authority on this point is much more settled than Plaintiffs’ briefing has




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suggested. Given the weight of authority within this Circuit since 2013, the most likely outcome

is that the Second Circuit—were it to hear this appeal—would affirm the Order.                    Thus,

interlocutory review would cause delay without altering the substance of this litigation.

       For all these reasons, the Court should exercise its discretion and deny interlocutory review.

                                            ARGUMENT

       I.      The Court Should Deny Reconsideration.

               A.      Standard Of Review.

       “Motions for reconsideration shall not be routinely filed and shall satisfy the strict standard

applicable to such motions.” D. Conn. L. Civ. R. 7(c)(1). “Such motions will generally be denied

unless the movant can point to controlling decisions or data that the court overlooked in the initial

decision or order.” Id. As this Court has recognized, Rule 7(c) “requires the moving party to meet

‘stringent standards.’” Dupont Flooring, 2004 WL 1171208, at *1 (citation omitted).

       To prevent wasting parties’ and courts’ time and resources, courts grant motions for

reconsideration “only in a narrow range of circumstances.” Id. (citation and quotation marks

omitted). “The only permissible grounds on which to grant a motion for reconsideration are: (1) an

intervening change in the law; (2) the availability of new evidence not previously available; or

(3) the need to correct a clear error of law or prevent manifest injustice.” Id. (citation and quotation

marks omitted). “In the context of a motion for reconsideration, ‘manifest injustice’ is defined as

an error committed by the trial court that is direct, obvious, and observable.” Dingwell, 2021 WL

413619, at *1 (quoting Corpac v. Rubin & Rothman, LLC, 10 F. Supp. 3d 349, 354 (E.D.N.Y.

2013)); see In re Air Crash at Belle Harbor, New York on Nov. 12, 2001, Nos. 02 MDL

1448(RWS), 02 Civ. 439(RWS), 02 Civ. 3143(RWS), 2007 WL 4563485, at *1 n.1 (S.D.N.Y.

Dec. 18, 2007) (noting that “[a]t least one court has held [] that reconsideration is not warranted

unless the prior decision is ‘dead wrong.’”) (quoting Parts & Elec. Motors, Inc. v. Sterling Elec.,


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Inc., 866 F.2d 228, 233 (7th Cir. 1988)).

       Further, motions for reconsideration must be filed promptly. Specifically, Local Rule 7(c)

requires that motions for reconsideration “shall be filed and served within seven (7) days of the

filing of the decision or order from which such relief is sought.” D. Conn. L. Civ. R. 7(c)(1).

               B.      The Court Should Deny The Motion Because
                       It Is Admittedly Untimely And Plaintiffs Did Not Attempt To
                       Satisfy Any Of The Requirements For Excusing Late-Filed Motions.

       The Motion should be denied for a straightforward reason: It is untimely, as Plaintiffs

themselves admit. See Mot. at 3 n.2 (acknowledging that Plaintiffs failed to comply with the local

rule governing motions for reconsideration). To discourage wasteful motions for reconsideration

and expedite the resolution of issues, the Local Rules require such motions be filed within seven

days of the disputed order. See D. Conn. L. Civ. R. 7(c)(1). Plaintiffs filed the Motion on February

12, 2021 (ECF 707), twenty-one days after the Order and fourteen days late under Rule 7. This

Court has denied motions for reconsideration that were similarly untimely. See, e.g., Schlosser v.

Droughn, No. 3:19-cv-1445 (SRU), 2021 WL 327527, at *3 (D. Conn. Feb. 1, 2021) (denying

motion filed seven days late as untimely); Walsh v. Law Offices of Howard Lee Schiff, P.C., No.

3:11-CV-1111 (SRU), 2013 WL 74967, at *2 (D. Conn. Jan. 7, 2013) (denying motion filed

twenty-nine days late as untimely); Leniart v. Murphy, No. 3:11-CV-1635 SRU, 2012 WL

5818321, at *1 (D. Conn. Nov. 13, 2012) (denying motion as untimely).

       Plaintiffs did not satisfy—or even attempt to satisfy—the procedural requirements for

excusing untimely submissions. Under the rules, “[a]ll motions for extensions of time must be

decided by a Judge and will not be granted except for good cause.” D. Conn. L. Civ. R. 7(b)(1)

(emphasis added). The rules are also clear as to what is required for such motions: “All motions

for extensions of time shall include a statement of the movant that (1) the movant has inquired of

all non-moving parties and there is agreement or objection to the motion, or that (2) despite diligent


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effort, including making the inquiry in sufficient time to afford non-movant a reasonable

opportunity to respond, the movant cannot ascertain the position(s) of the non-movant(s).” D.

Conn. L. Civ. R. 7(b)(2); see also D. Conn. L. Civ. R. 7(b)(3) (requiring motions for extension of

time to be filed at least three days before the deadline sought to be extended, and imposing

additional requirements on motions that fail to comply with this requirement).

       Plaintiffs, however, never inquired as to Defendants’ position on the Motion, and do not

claim to have attempted such an inquiry. In fact, Plaintiffs do not identify any good cause for the

late submission whatsoever. See Buster v. City of Wallingford, No. 3:07-cv-544 (JBA), 2008 WL

2782731, at *1 (D. Conn. July 7, 2008) (denying late-filed motion, where plaintiff failed to

ascertain opposing counsel’s position or satisfy the good cause requirement). The closest Plaintiffs

come is in asking “the Court exercise its discretion to review the motion in view of the significance

of the issues raised in the motion.” Mot. at 3 n.2. The purported significance of an issue does not

constitute good cause for filing motions late, and accepting it as such would forgive nearly every

untimely motion. In light of Plaintiffs’ disregard for the Local Rules governing the extraordinary

relief Plaintiffs seek, the Court should deny the Motion.

               C.      The Court Should Deny The Motion Because It
                       Advances An Argument That This Court Already Decided.

       Motions for reconsideration are not permitted to relitigate settled issues. Courts routinely

deny motions for reconsideration where Plaintiffs merely seek to revisit issues that the Court

already decided. Alpert v. Starwood Hotels & Resorts Worldwide, Inc., No. 3:14-cv-1872 (SRU),

2019 WL 2341684, at *1 (D. Conn. June 3, 2019) (denying motion for reconsideration, noting they

“will not be granted where the party merely seeks to relitigate an issue that has already been

decided”) (citation omitted); Kaminski v. Semple, No. 3:19-CV-143 (SRU), 2019 WL 2016778, at

*1 (D. Conn. May 7, 2019) (denying motion for reconsideration, reminding that “a motion for



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reconsideration should be denied when the movant ‘seeks solely to relitigate an issue already

decided’”) (quoting Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995)); Alexander v.

Gen. Ins. Co., No. 3:16-cv-59 (SRU), 2017 WL 188134, at *2 (D. Conn. Jan. 17, 2017) (holding

that movants “failed to meet the high bar that would justify reconsideration of my prior ruling,”

and denying motion to reconsider that “merely attempts to relitigate arguments that were

considered and rejected” in deciding the motion to dismiss).

       Here, Plaintiffs first raised their scheme-liability argument at oral argument, and the Court

considered it and rejected it. Indeed, it devoted sixteen pages to this issue, reviewing and applying

case law. See Order at 7-23. Where, as here, a court has decided an issue, it is not proper for a

plaintiff to move to reconsider it, absent a change of controlling law, new evidence, or a clear error

of law or manifest injustice. Dupont Flooring, 2004 WL 1171208, at *1. Plaintiffs here do not

point to any change in controlling law or new evidence. See Mot., passim. Thus, they can argue

only that there was a clear error of law or manifest injustice. As discussed below, they have failed

to make either showing. Infra, § I(E)(3).

               D.      The Court Should Deny The Motion Because Plaintiffs Seek To
                       Advance Arguments They Failed To Advance In Their Briefing.

       Motions for reconsideration are also not properly filed to advance arguments that a party

failed to advance at the appropriate time. Phoenix Light SF Ltd. v. U.S. Bank Nat’l Ass’n, No. 14-

CV-10116 (VSB), 2020 WL 4699043, at *4 (S.D.N.Y. Aug. 12, 2020) (denying reconsideration

and noting the moving parties’ “new legal theories and factual propositions are . . . improper on a

motion for reconsideration”); Packer v. SN Servicing Corp., 250 F.R.D. 108, 112 (D. Conn. 2008)

(“This argument comes too late and is inappropriate for a motion for reconsideration. . . . Motions

for reconsideration are not designed to allow parties to make arguments that they could have and

should have made before the court ruled.”). Plaintiffs first invoked scheme liability at oral



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argument, so any argument based on it was forfeited or waived. In fact, Plaintiffs admit as much

in seeking reconsideration. See Mot. at 3 n.2 (“Plaintiffs respectfully request that the Court

exercise its discretion to review the motion in view of the significance of the issues raised in the

motion, which concern arguments and case law that had not been previously raised or briefed by

the parties.”) (emphasis added). 2

        The Court also recognized the belated nature of Plaintiffs’ argument.             Order at 18

(“[B]efore the hearing on the pending motion to dismiss, the Repose Plaintiffs had never advanced

a ‘scheme liability’ argument under Rule 10b-5(a) and (c).”). It is foundational that an argument

not raised in briefing is waived or forfeited. Lami v. Stahl, No. 3:05-cv-1416 (MRK), 2007 WL

3124834, at *1 (D. Conn. Oct. 25, 2007) (“It is well settled that a failure to brief an issue is grounds

to deem the claim abandoned.”); see Local 1336, Amalgamated Transit Union, AFL-CIO v. First

Student, Inc., No. 3:11-cv-1463 (MPS), 2013 WL 646265, at *2 (D. Conn. Feb. 21, 2013) (holding

plaintiff abandoned a claim by not briefing it on summary judgment).

        Thus, Plaintiffs’ argument that the Court “overlooked” the Supreme Court’s Lorenzo

decision goes too far, as they never briefed any scheme liability argument based on Lorenzo. Mot.

at 3. Likewise, Plaintiffs’ argument that they did not previously have an opportunity to brief the

cases cited by the Court because Defendants did not brief the issue is misleading. Id. The fact is

that Plaintiffs did not raise the issue of scheme liability as a defense to Defendants’ statute of

repose arguments until oral argument, and accordingly Defendants had no reason to brief the issue.

Plaintiffs cannot fairly point the finger at this Court or Defendants for their own failure, which also


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  Elsewhere, Plaintiffs protest that the “court’s ruling turned on legal analysis and case law that
had not been advanced or briefed by Defendants and thus that Plaintiffs had no prior occasion to
respond to or address.” Mot. at 3. This is obviously incorrect, as the record shows. At oral
argument, Plaintiffs invoked scheme liability as an argument against Defendants’ motion to
dismiss on repose grounds. Having raised this argument at the hearing, it is plain that Plaintiffs
had prior occasion to address scheme liability arguments and case law in their opposition briefing.

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cannot be used to justify reconsideration.

               E.      Plaintiffs Fail To Identify Any Valid Ground For Reconsideration.

       Even were the Court to overlook the foregoing fatal procedural defects, however, Plaintiffs

fail to identify any valid ground to justify reconsideration. Plaintiffs have not shown “(1) an

intervening change in the law; (2) the availability of new evidence not previously available; or

(3) the need to correct a clear error of law or prevent manifest injustice.” Dupont Flooring, 2004

WL 1171208, at *1 (citation and quotation omitted).

                       1.     Plaintiffs Fail To Identify Any Intervening Change In The Law.

       Plaintiffs do not identify (or purport to identify) “an intervening change in the law.” Id.

(emphasis added). Instead, they simply claim that the Order “is contrary to the Supreme Court’s

recent decision in Lorenzo v. S.E.C., 139 S. Ct. 1094 (2019).” Mot. at 1. But that March 2019

decision long predated the briefing on the repose issue, so it cannot possibly qualify as an

intervening change in the law. Had Plaintiffs believed that Lorenzo was controlling law on the

issue before this Court and had they wished to bring it to this Court’s attention, they could have

done so—indeed, they were required to do so—in their briefing. Regardless, that 2019 decision

cannot justify reconsideration of this Court’s Order issued in 2021.

       Even if Lorenzo had been decided after this Court’s Order, it still would not justify

reconsideration, as it is simply not controlling on the issue before the Court. Lorenzo does not

involve the application of a statute of repose, and it is not instructive regarding how a court should

apply a statute of repose to a claim of scheme liability. Thus, putting aside the fact that Plaintiffs

have not pleaded scheme liability, Lorenzo is simply not “controlling authority” that this Court

“overlooked.” D. Conn. L. Civ. R. 7(c)(1).




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                       2.      Plaintiffs Fail To Identify Any New,
                               Relevant Evidentiary Development.

       Similarly, Plaintiffs do not claim there is new evidence that was not previously available

as a basis for reconsideration. Dupont Flooring, 2004 WL 1171208, at *1. To the contrary,

Plaintiffs affirmatively assert the absence of any evidentiary issues in the Motion, describing the

repose ruling as presenting “a pure and controlling question of law.” Mot. at 2.

                       3.      Plaintiffs Fail To Identify Any
                               Clear Error Of Law Or Manifest Injustice.

       This Court did not commit any error (let alone clear error of law) or cause Plaintiffs to

suffer a manifest injustice. It is simply not the case that this Court’s Order was “dead wrong.”

Belle Harbor, 2007 WL 4563485, at *1 n.1 (citation and quotation marks omitted). Rather, this

Court correctly applied the law as it has consistently been applied within this Circuit for almost a

decade.

       Notably, Plaintiffs’ Motion seeks reconsideration solely on the basis of a liability theory—

scheme liability—that Plaintiffs never pleaded or briefed. See Mot. 1. Indeed, the Court carefully

reviewed the pleadings and concluded that “the Repose Plaintiffs’ complaints do not specifically

mention Rule 10b-5(a) and (c) or ‘scheme liability.’” Order at 18. The Court observed that

Plaintiffs’ complaints “repeatedly emphasize” a different theory of liability, and fail to follow the

usual path—at least, for plaintiffs who actually plead scheme liability—of alleging claims “based

on misstatements” and claims “based on scheme liability” in “two separate counts.” Id. at 18-19.

Because Plaintiffs had “not attempted” to allege scheme liability claims, this Court “reject[ed] the

Repose Plaintiffs’ late and half-hearted attempt to re-fashion their Rule 10b-5 claim into a ‘scheme

liability’ claim for purposes of the relevant statue of repose.”       Id.   Plaintiffs cannot seek

reconsideration on the basis of a theory that was never pleaded. See United States ex rel. Fabula

v. Am. Med. Response, Inc., No. 3:12-cv-921 (MPS), 2019 WL 5726920, at *2 (D. Conn. Nov. 5,


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2019) (denying motion for reconsideration that relied in part “on a theory that was not pled”).

       In arguing that they pleaded scheme liability, Plaintiffs liken their allegations to those in a

host of other cases. Mot. at 6 & n.7 (collecting cases). But even a cursory review of the operative

complaints in those cases, including a case filed after Lorenzo, shows express pleading of scheme

liability that is drastically different than Plaintiffs’ complaints, which “do not specifically mention

Rule 10b-5(a) and (c) or ‘scheme liability.’” Order at 18. See, e.g., In re Cognizant Tech. Sols.

Corp. Sec. Litig., No. 16-cv-6509 (D.N.J.), Second Am. Compl. (ECF 83) ¶ 338 (pleading that

defendants “engaged in a plan, scheme and course of conduct” and alleging a bribery scheme

throughout the complaint); Georgia Firefighters’ Pension Fund v. Anadarko Petroleum Corp., No.

20-cv-576 (S.D. Tex.), Am. Compl. (ECF 55) ¶¶ 172-79 (expressly pleading scheme liability in a

complaint replete with allegations of defendants’ supposed fraudulent scheme); S.E.C. v. Kameli,

No. 17-cv-4686 (N.D. Ill.), Second Am. Compl. (ECF 192) ¶¶ 16, 366 (expressly pleading scheme

liability); Takata v. Riot Blockchain, Inc., No. 18-cv-2293 (D.N.J.), Second Am. Compl. (ECF

188) ¶¶ 482-87 (expressly pleading scheme liability under Rule 10b-5(a) and (c) as a separate

count); S.E.C. v. Fiore, No. 7:18-cv-05474-KMK (S.D.N.Y.), Compl. (ECF 2) ¶¶ 1, 106 (alleging,

in first numbered paragraph, that the defendant “orchestrated a fraudulent scheme to promote and

otherwise manipulate the market” and expressly pleading scheme liability); S.E.C. v.

SeeThruEquity, LLC, No. 1:18-cv-10374-LLS (S.D.N.Y.), Compl. (ECF 4) ¶ 133 (expressly

pleading scheme liability).

       But even had Plaintiffs alleged scheme liability under Rule 10b-5(a) or (c), Plaintiffs face

yet another issue fatal to their motion for reconsideration: Plaintiffs’ argument that Lorenzo

“expanded the scope of scheme liability” is irrelevant to the statutory repose issue decided by the

Court. Mot. at 1 (quoting S.E.C. v. Sugarman, No. 19-cv-5998, 2020 WL 5819848, at *7




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(S.D.N.Y. Sept. 30, 2020)). More specifically, Plaintiffs’ argument does not alter the Court’s

analysis of the application of the statute of repose.

       Indeed, at least one case that addressed this issue squarely rejected Plaintiffs’ argument. In

Matin, the court dismissed a claim as time-barred despite plaintiff’s assertions of scheme liability.

Veltex Corp. v. Matin, No. CV 10-1746 ABC PJWX, 2010 WL 3834045, at *6 & n.9 (C.D. Cal.

Sept. 27, 2010). In so holding, the court explained that “[e]ach false statement constitutes a

separate violation, so the five-year period runs separately for each violation when it occurs.” Id.

       By contrast, Plaintiffs fail to identify any case within the Second Circuit that adopts their

view of scheme liability in warding off dismissal under Section 1658(b)(2). In fact, Plaintiffs do

not cite a single case—not one—where a court held that the time bar set forth in a statute of repose

is impacted by allegations of scheme liability. See Mot. at 3-7. One would expect that, if the

Lorenzo decision had the impact that Plaintiffs contend it does, there would be at least some

authority applying it in the way Plaintiffs suggest. But Plaintiffs point to no case, post-Lorenzo,

where a court revisited a prior order in light of Lorenzo. Plaintiffs point to no case, post-Lorenzo,

where a court held that otherwise untimely statements are somehow actionable based on the

reasoning in Lorenzo. Plaintiffs’ failure to identify any such authority is telling.

       At most, Plaintiffs suggest, in requesting interlocutory review, that courts evaluate the

repose issue differently in the scheme liability context. See Mot. at 10 n.11. But this handful of

cases—all of which are from other jurisdictions and many of which are significantly dated—do

not support their position.       These out-of-circuit decisions employ the discredited last-

misrepresentation-made theory that the Court evaluated and rejected. Order at 13-14 & n.16; see

also, e.g., Quaak v. Dexia S.A., 357 F. Supp. 2d 330, 338 (D. Mass. 2005), cited in Mot. 10 n.11.

Indeed, some of these cases do not even involve scheme liability at all, diminishing any relevance




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they could have to Plaintiffs’ argument on reconsideration. See, e.g., Equity Tr. Co. v. Kopacka,

No. 17-12275, 2018 WL 3708078, at *3 (E.D. Mich. Aug. 3, 2018) (appearing to involve claims

under Rule 10b-5(b), and not mentioning Rule 10b-5(a) or (c), or “scheme liability,” in decision);

see also Kopacka, First Am. Compl. (ECF 9), ¶ 200 (alleging securities claim based on “material

misrepresentations and omissions,” not scheme liability); Cont’l Bank, Nat. Ass’n v. Vill. of

Ludlow, 777 F. Supp. 92, 101 (D. Mass. 1991) (making no reference to Rule 10b-5(a) or (c), or

“scheme liability,” in decision and dismissing claims as untimely).

       In fact, in one case cited by Plaintiffs, the court concluded in a later ruling that allegations

of scheme liability will not salvage untimely violations. Compare W. Virginia Pipe Trades Health

& Welfare Fund v. Medtronic, Inc., 57 F. Supp. 3d 950, 978 (D. Minn. 2014), cited in Mot. 10

n.11, with W. Virginia Pipe Trades Health & Welfare Fund v. Medtronic, Inc., 299 F. Supp. 3d

1055, 1059 (D. Minn. 2018). In the 2018 ruling, the court rejected an argument similar to the one

Plaintiffs advance here.    The Medtronic plaintiffs argued that they could hold defendants

“accountable for the entire course of conduct—even for acts that occurred [outside the repose

period]—under a continuing fraudulent scheme theory.” 299 F. Supp. 3d at 1063. The Medtronic

plaintiffs argued that if any individual defendant “committed any act in furtherance of the scheme

after [the repose cutoff], Plaintiffs may maintain a scheme-liability claim against that Individual

Defendant for the entire course of conduct.” Id. (emphasis in original).

       The Medtronic court rejected this theory, noting it conflicted with guidance from “a

majority of courts” and recent Supreme Court precedent, including ANZ Securities. See id. (citing,

inter alia, Cal. Pub. Emps.’ Ret. Sys. v. ANZ Secs., Inc., 137 S. Ct. 2042, 2051 (2017)). Thus, even

Plaintiffs’ most analogous case for their scheme liability argument undermines their position, as

that court properly changed course in light of guidance from the Supreme Court and other courts




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on the repose question.

          While Plaintiffs have cited no law or reason to suggest that this Court ruled incorrectly,

they have certainly offered nothing to suggest a “clear” error or that this Court was “dead wrong.”

Belle Harbor, 2007 WL 4563485, at *1 n.1. Indeed, as the Court itself observed, it is also “not

clear” that adopting Plaintiffs’ last-minute “scheme liability” theory would alter the analysis of the

timeliness issue. Order at 19 n.20. Plaintiffs misquote the Court on this point (see Mot. at 7),

which depended on the observations that no alleged scheme has yet been defined by a factfinder,

and that issue could be hotly contested. But the Court’s observation, of course, does not alter the

fact that Plaintiffs have not only failed to plead scheme liability, but have also failed to cite any

persuasive authority suggesting that allegations of scheme liability somehow toll the statute of

repose.

          The Court should deny reconsideration.

          II.    The Court Should Deny The Request For Interlocutory Review.

          Plaintiffs alternatively ask for the Court to certify its Order for interlocutory review. Mot.

at 7 (citing 28 U.S.C. § 1292). In making this request, Plaintiffs do not limit their arguments to

their belatedly-advanced scheme liability argument, but rather focus on their last-

misrepresentation-made theory. The Court should deny this request.

                 A.      Standard Of Review.

          The courts of appeals have jurisdiction over appeals from all “final decisions of the district

courts,” 28 U.S.C. § 1291, so “a party must ordinarily raise all claims of error in a single appeal

following final judgment on the merits.” In re Aggrenox Antitrust Litig., No. 3:14-md-02516

(SRU), 2018 WL 834228, at *1 (D. Conn. Feb. 12, 2018) (quoting Richardson-Merrell, Inc. v.

Koller, 472 U.S. 424, 429-30 (1985)). Section 1292(b) creates a “rare exception to the final

judgment rule.” Koehler v. Bank of Bermuda, 101 F.3d 863, 865 (2d Cir. 1996). That statute


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allows a district judge to certify the interlocutory appeal of an order when the judge is “of the

opinion” that: (1) the “order involves a controlling question of law,” (2) the question presents

“substantial ground for difference of opinion,” and (3) “an immediate appeal may materially

advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b).

       The Second Circuit has cautioned that Section 1292(b) should not be “literally construed,”

and that “only ‘exceptional circumstances [will] justify a departure from the basic policy of

postponing appellate review until after the entry of a final judgment.’” Klinghoffer v. S.N.C.

Achille Lauro ed Altri-Gestione Motonave Achille Lauro in Amministrazione Straordinaria, 921

F.2d 21, 24-25 (2d Cir. 1990). The party seeking certification under Section 1292(b) “bears the

heavy burden of demonstrating that the case is an exceptional one in which immediate appeal is

warranted.” White v. Nix, 43 F.3d 374, 376 (8th Cir. 1994).

       Whether to certify an order for interlocutory appeal “is entirely a matter of discretion for

the District Court.” In re City of New York, 607 F.3d 923, 933 (2d Cir. 2010). This means that

district courts have “unfettered discretion to deny certification . . . even when a party has

demonstrated that the criteria of 28 U.S.C. § 1292(b) are met.” Tarpon Bay Partners LLC v. Zerez

Holdings Corp., No. 3:17-cv-579 (SRU), 2019 WL 10984250, at *1 (D. Conn. Oct. 29, 2019)

(quoting In re World Trade Ctr. Disaster Site Litig., 469 F. Supp. 2d 134, 144 (S.D.N.Y. 2007)).

               B.      None Of The Factors Supports Certification Here, And
                       The Court Should Exercise Its Discretion And Deny Certification.

                       1.      The Controlling Question Of Law
                               Factor Does Not Support Certification.

       “In determining whether a controlling question of law exists, a district court should

consider whether: (1) reversal of the district court’s opinion could result in dismissal of the action;

(2) reversal of the district court’s opinion, even though not resulting in dismissal, could

significantly affect the conduct of the action; or (3) the certified issue has precedential value for a


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large number of cases.” Adams v. Nat’l Eng’g Serv. Corp., No. 07-CV-1035 (JCH), 2009 WL

10688624, at *2 (D. Conn. June 26, 2009). Plaintiffs’ arguments on this point serve only to

undermine the notion that the Order presents a controlling question of law that supports

certification. Plaintiffs argue that interlocutory review “would clarify the scope of discovery and

proof that the parties could present at trial” and “have significant precedential value for a large

number of cases.” Mot. at 9. Those arguments reveal that this factor does not compel certification,

as they concede the limited impact of the Order on the course of proceedings. And Plaintiffs are

wrong on both counts.

       First, a contrary ruling would have little effect, if any, on discovery. The earliest time-

barred statement that the Court dismissed was the alleged February 6, 2014 statement. See Order

at 7, App’x A. That date marks the start of the Ontario Plaintiffs’ putative class period. Second

Am. Compl. (ECF 310) ¶ 50 (“The Class Period begins on February 6, 2014, the date Teva

announced its fourth quarter 2013 and full year 2013 financial results in a press release.”). The

Ontario Plaintiffs also allege that this statement was false and misleading. Id. ¶ 183. Under the

terms of the consolidation order, counsel for the Ontario Plaintiffs “conduct[s] all pretrial and

discovery proceedings on behalf of all plaintiffs in the Direct Actions, including briefing and

arguing all motions and conducting all fact and expert discovery.” Joint Mot. (ECF 311) at 18;

see Order (ECF 341) (granting joint motion to consolidate).           In fact, under the Court’s

consolidation order, the direct-action plaintiffs (of which the Plaintiffs are a subset) play a

secondary role in the discovery process. See, e.g., Joint Mot. (ECF 311) at 18 (“Plaintiffs’ counsel

in the Direct Actions may not separately serve discovery without leave of Court. . . .”). Simply

put, discovery will almost certainly be essentially the same regardless of the impact of the Order




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in the above-captioned actions. 3

       Second, Plaintiffs overstate the impact that a ruling would have on other cases. See Mot.

at 9-10. Indeed, the argument that interlocutory review would “resolve this important issue” (id.

at 10) ignores that this issue has been effectively resolved within the Second Circuit since 2013.

See Police & Fire Ret. Sys. of Detroit v. IndyMac MBS, Inc., 721 F.3d 95, 106 (2d Cir. 2013)

(holding statute of repose not subject to equitable tolling). As Defendants previously observed,

“Plaintiffs do not and cannot cite a single case since 2013 that supports their argument.” Defs.’

Reply (ECF 538) at 1. The Court noted this fact approvingly, concluding it “lends credence to the

Repose Defendants’ assertion that the law on this point leans in their favor.” Order at 14. And in

any event, “[c]ertification provides a means of achieving case-specific accommodation of the

antagonistic pressures that surround final-judgment doctrine that should not depend on general

importance,” so the “opportunity to achieve appellate resolution of an issue important to other

cases may provide an additional reason for certification, but cannot be a requirement.” 16 Charles

Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 3930 (3d ed.) (emphasis added).

For this reason, even accepting arguendo that another repose ruling from the Second Circuit could

clarify this issue for other cases, that alone will not justify interlocutory review if Plaintiffs have

not shown entitlement to such review in these six cases. See Lorentz v. Westinghouse Elec. Corp.,

472 F. Supp. 954, 956-57 (W.D. Pa. 1979) (acknowledging that the court’s ruling could have broad



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  For these reasons, Plaintiffs’ reliance on UBS Americas is misplaced. Mot. at 9 (citing Fed.
Hous. Fin. Agency v. UBS Ams., Inc., 858 F. Supp. 2d 306, 338 (S.D.N.Y. 2012)). In that case,
there was an open question as to whether the interlocutory review of the timeliness ruling could
“terminate the litigation” because certain actions would be barred wholesale. Id. Here, however,
neither the Court’s partial dismissal nor any putative reversal of the Order would terminate any of
the cases. Order at 23. And unlike in UBS Americas, an interlocutory ruling will not “importantly
affect the conduct of [the] action.” 858 F. Supp. 2d at 337 (quoting In re Duplan Corp., 591 F.2d
139, 148 n.11 (2d Cir. 1978)). As explained above, such a ruling would not “narrow the scope of
discovery” as Plaintiffs wrongly suggest. Id. at 338.

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implications for other cases, but declining to certify it for interlocutory appeal since appeal would

not materially advance ultimate termination of present case.).

       The wide gap between the type of case in which a court finds the controlling-question-of-

law factor readily satisfied and this case underscores Plaintiffs’ failure to satisfy this requirement.

If “a reversal of the district court’s order would terminate the action,” then courts conclude the

“matter is controlling.” U.S. ex rel. Drake v. NSI, Inc., 736 F. Supp. 2d 489, 503 (D. Conn. 2010)

(quoting Klinghoffer, 921 F.2d at 24).        To be sure, this factor is not satisfied only when

interlocutory review could terminate an entire action, but that is the paradigmatic scenario that

would satisfy this factor. Klinghoffer, 921 F.2d at 24 (“[I]it is clear that a question of law is

‘controlling’ if reversal of the district court’s order would terminate the action.”); Aggrenox, 2018

WL 834228, at *5 (noting that “[q]uestions of personal or subject matter jurisdiction are most

commonly appealed under section 1292(b) because resolution of those issues could potentially

dispose of the case without need to delve into the merits”) (citing In re Complete Retreats, No.

3:07-mc-152 (SRU), 2008 WL 220752, at *2 n.3 (D. Conn. Jan. 23, 2008)). Plaintiffs cannot argue

that a reversal would terminate these actions; rather, they (wrongly) contend that it would “clarify

the scope” of evidentiary issues in the case. Mot. at 9. The modest effect of Plaintiffs’ requested

relief underscores the extent to which Plaintiffs fail to show a controlling question of law exists

and warrants interlocutory review.

                       2.      There Is Not Substantial Ground For Difference Of Opinion.

       The second prong “requires more than a claim that the court’s ruling was wrong.” Drake,

736 F. Supp. at 503. “This element may be met by showing that (1) there is conflicting authority

on an issue or (2) the case is particularly difficult and of first impression within this Circuit.”

Tarpon Bay, 2019 WL 10984250, at *2 (citing Drake, 736 F. Supp. 2d at 503). Once again, neither

ground is met here.


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       First, there is no recent conflicting authority on the repose issue. Mot. at 10 n.11. To the

contrary, Plaintiffs have offered no answer to Defendants’ contention that the law on this question

has been settled in the Second Circuit at least since the 2013 IndyMac decision. See Defs.’ Reply

(ECF 538) at 5; Order at 14 (agreeing with Defendants that “the law on this point leans in their

favor”). And the law on this point has only become more settled since the Supreme Court

underscored IndyMac’s holding that statutes of repose are not subject to equitable tolling. ANZ

Sec., 137 S. Ct. at 2045. While the Court acknowledged historical conflicting authority on this

point, it—like Plaintiffs—did not discuss any recent cases holding that statutes of repose were

subject to equitable tolling. Indeed, it was for this very reason that the Court concluded that

Defendants’ repose authorities were “stronger.” Order at 14. Simply put, to the extent there was

a conflict on this question within this Second Circuit, that conflict ended in 2013.

       Without any recent authority to support their conflicting-authority argument, Plaintiffs

divert attention to cases dealing with ancillary issues. See Mot. at 11 (citing Arnold v. KPMG LLP,

334 F. App’x 349, 351 (2d Cir. 2009) & Kaplan v. S.A.C. Cap. Advisors, L.P., 40 F. Supp. 3d 332,

343 (S.D.N.Y. 2014)). But these cases involve a different issue altogether; they evaluate the

application of Section 1658(b) in connection with the date of the purchase or sale of securities.

That transaction-based approach is not at issue here. Plaintiffs cannot show entitlement to

interlocutory review based on an issue not briefed by the parties and not addressed in the Order.

       Plaintiffs also point to post-2013 decisions from other jurisdictions (see Mot. at 10 & n.11),

but “[d]isagreement among courts outside the Second Circuit does not establish a substantial

ground for difference of opinion” for the purposes of Section 1292(b). Adams, 2009 WL

10688624, at *2 (quoting Ryan, Beck & Co., LLC v. Fakih, 275 F. Supp. 2d 393, 398 (E.D.N.Y.

2003)); see Known Litig. Holdings, LLC v. Navigators Ins. Co., No. 3:12-cv-269 (JBA), 2013 WL




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12284920, at *2 (D. Conn. Dec. 5, 2013); Cerrato v. Solomon & Solomon, No. 3:11-cv-623 (JCH),

2013 WL 12286084, at *2 (D. Conn. Jan. 4, 2013); In re Methyl Tertiary Butyl Ether Prods. Liab.

Litig., 174 F. Supp. 2d 4, 8 (S.D.N.Y. 2001) (rejecting “disagreement outside this Circuit” in

analyzing whether a substantial ground for difference of opinion exists); In re NASDAQ Mkt.

Makers Antitrust Litig., 938 F. Supp. 232, 235 (S.D.N.Y. 1996) (“[O]pinions [in other districts] do

not control in this Circuit and do not in themselves create ‘substantial grounds’ for a difference of

opinion.”).

       In fact, to the extent there has been additional recent authority on the repose question, that

authority favors Defendants. For instance, Plaintiffs acknowledge a very recent decision from the

Southern District that adopted the same approach as the Order and granted the same relief. See

Mot. at 11 n.12 (citing Abu Dhabi Inv. Auth. v. Mylan N.V., No. 20-CV-1342 (JPO), 2021 WL

516310, at *3 (S.D.N.Y. Feb. 10, 2021)). Abu Dhabi is instructive. Like this Court, it determined

that recent Supreme Court authority supported dismissal. 2021 WL 516310 at *3 (citing ANZ

Secs., 137 S. Ct. 2042 & CTS Corp. v. Waldburger, 573 U.S. 1 (2014)). And like this Court, it

adopted the violation-specific understanding of Section 1658(b)(2) advanced in cases like Kuwait

Investment Office v. American International Group, Inc., 128 F. Supp. 3d 792, 807 (S.D.N.Y.

2015). 4 This illustrates that the case law has continued to coalesce on this issue in light of recent

Supreme Court precedents. Accord Khoury v. Thota, No. 4:19-CV-4806, 2020 WL 6494986, at

*4 (S.D. Tex. Oct. 1, 2020) (“Federal law bars the plaintiff’s securities fraud claims, to the extent

that they are based on misrepresentations made more than five years before the plaintiff filed this


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  In laboring to distinguish Abu Dhabi, Plaintiffs make some puzzling arguments and misread the
Order. They claim that Abu Dhabi likened the plaintiff’s argument to equitable tolling, but claim
that this Court “eschewed” that “flawed . . . analogy” in its Order. Mot. at 11 n.12. In support,
Plaintiffs point not to the Order, but to the hearing transcript. See id. In the Order, the Court
recognized Plaintiffs’ argument for precisely what it is—a variant of equitable tolling. Order at
19 (rejecting “[e]quitable arguments”); id. at 20 (same).

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lawsuit. . . . This statute of repose begins to run from the date of the misrepresentation or omission

that forms the basis of the securities law violation.”).

       As for the second point, this case is not “particularly difficult and of first impression within

this Circuit.” Tarpon Bay, 2019 WL 10984250, at *2 (emphasis added). The long line of cases

dismissing securities claims as untimely under Section 1658(b)(2)’s statute of repose demonstrate

as much. See Mot. to Dismiss (ECF 464) at 4-5 (collecting cases); see also Order at 14 (discussing

“cases in which district courts within the Second Circuit have granted the precise relief that the

Repose Defendants” sought in their motion to dismiss).

       In sum, there is no recent conflict on this question in the Second Circuit; rather, it appears

to have been settled for almost a decade. This lengthy trend of unanimity does not support

interlocutory review.

                        3.     Interlocutory Review Will Not Materially
                               Advance The Ultimate Termination Of The Litigation.

       “The third prong is met where an intermediate appeal would advance the ultimate

termination of a litigation or if the appeal would advance the time to trial or shorten the trial.”

Tarpon Bay, 2019 WL 10984250, at *2 (citation and quotation marks omitted). Here, Plaintiffs

contend that interlocutory review would avoid piecemeal resolution of the claims, foster

settlement, and avoid protracted litigation. Mot. at 12-13. Again, these factors do not favor

interlocutory review.

       Plaintiffs’ proposed interlocutory review would only lengthen proceedings, so “enabl[ing]

the Second Circuit to immediately address the question of what triggers the repose period” will

not advance the ultimate termination of this litigation. Mot. at 12. For starters, Plaintiffs presume

that the Second Circuit would reach a different conclusion on this point (see id.), but reversal is

unlikely. The recent authority on this point is much more settled than Plaintiffs let on. See supra,



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§ II(B)(1), (2); Order at 14. And the Second Circuit has affirmed decisions closely tracking the

reasoning of the Order. For instance, the district court in Colbert followed Defendants’ authorities

in dismissing time-barred misstatements, recounting that, “[c]ourts in this district have . . .

consistently stated that the five-year period begins to run from the time that the allegedly fraudulent

representations were made.” Colbert v. Rio Tinto PLC, 392 F. Supp. 3d 329, 336 (S.D.N.Y. 2019)

(citing Boudinot v. Shrader, No. 09 Civ. 10163, 2012 WL 489215, at *4 (S.D.N.Y. Feb. 15, 2012)

& Kuwait Inv. Office, 128 F. Supp. 3d at 807)). The Second Circuit affirmed without revisiting

the repose ruling. Colbert v. Rio Tinto PLC, 824 F. App’x 5, 12 (2d Cir. 2020). Given the weight

of authority within the Circuit since IndyMac, the most likely outcome is that the Second Circuit

would affirm the Order. Thus, interlocutory review would cause delay without altering the

substance of this litigation.

        Plaintiffs’ related argument that “[i]nterlocutory appeal would conserve scarce judicial

resources by avoiding the potential for piecemeal resolution of Plaintiffs’ claims” is peculiar. Mot.

at 12. Plaintiffs’ proposal guarantees piecemeal resolution of the claims (by interjecting an

interlocutory appeal) ostensibly to mitigate the possibility of piecemeal resolution of the claims (in

the unlikely event that the Second Circuit reverses the repose ruling). This is a non-sequitur. 5 See

Ricci v. DeStefano, No. 3:04-cv-1109 (JBA), 2011 WL 13227942, at *3 (D. Conn. May 5, 2011)

(denying interlocutory appeal because it would require “[p]roceeding in a piecemeal fashion, for

which the Second Circuit has expressed a clear distaste,” and “likely necessitate a delay in trial”).


5
  Plaintiffs spin off a variant of this argument, contending that the “complex nature of this
consolidated action” would streamline the cases and avoid “protracted litigation.” Mot. at 13
(quotation and citation omitted). Of course, the Order has just that streamlining effect. And again,
Plaintiffs’ argument that an interlocutory appeal here avoids protracted litigation makes little
sense. Plaintiffs’ authority in support underscores that point, as there (unlike here), interlocutory
review had the potential to resolve the entire litigation. See UBS Ams., 858 F. Supp. 2d at 338,
340-41 (certifying question in part because appellate review could potentially resolve all of
plaintiff’s claims, so “an immediate appeal may expedite the conclusion of this litigation”).

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       Plaintiffs’ argument that interlocutory review would “hasten the termination of this

litigation through settlement” is also misplaced. Mot. at 12-13 (citation and quotation marks

omitted). Plaintiffs fail to explain in what way this argument is different than an argument that

could be advanced in all cases with respect to an order like the one this Court issued. See Ashmore

v. Ne. Petroleum Div. of Cargill, Inc., 855 F. Supp. 438, 440 & n.3 (D. Me. 1994) (rejecting

argument that “the increased likelihood of settlement in this case justifies certification,” noting

that “[r]esolution of nearly any disputed issue of law will to a greater or lesser extent, make

settlement more probable”).

       For all these reasons, the Court should deny Plaintiffs’ request for interlocutory review.

Even if the Court were to find some or all of the Section 1292(b) factors met, it should still exercise

its discretion to deny interlocutory review for the reasons discussed above. See, e.g., Gulino v. Bd.

of Educ. of City Sch. Dist. of City of New York, 234 F. Supp. 2d 324, 325 (S.D.N.Y. 2002)

(exercising discretion and denying request for interlocutory appeal even when some of Section

1292(b)’s requirements were met); cf. Tarpon Bay, 2019 WL 10984250, at *1 (recognizing that

“[d]istrict courts have ‘unfettered discretion to deny certification . . . even when a party has

demonstrated that the criteria of 28 U.S.C. § 1292(b) are met.’”) (quoting World Trade Ctr.

Disaster Site Litig., 469 F. Supp. 2d at 144).

               C.      Interlocutory Review Is Not Frequently
                       Granted To Resolve Timeliness Issues, And Is
                       Typically Limited To Potentially Case-Terminating Questions.

       That none of the three relevant factors support interlocutory review should come as no

surprise given the nature of the Court’s Order. While Plaintiffs suggest that interlocutory review

is commonly granted when a district court holds “a particular claim is time-barred,” the case law

reveals no such tendency. Mot. at 8. To the contrary, courts routinely deny interlocutory review

of timeliness questions involving statutes of repose or limitations. See, e.g., In re Brookhaven


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Nat’l Lab. Trichloroethylene Cases, No. 19CV4839GRBRML, 2021 WL 232560, at *2 (E.D.N.Y.

Jan. 23, 2021) (denying certification of interlocutory appeal of limitations issue); Fed. Hous. Fin.

Agency v. Royal Bank of Scotland Grp. PLC, 124 F. Supp. 3d 92, 103 (D. Conn. 2015) (denying

certification of interlocutory appeal of limitations and repose issues); Nat’l Credit Union Admin.

Bd. v. Morgan Stanley & Co., No. 13CV6705 DLC, 2014 WL 5017822, at *2-3 (S.D.N.Y. Sept.

30, 2014) (denying certification of interlocutory appeal of repose issue); Fed. Hous. Fin. Agency v.

HSBC N. Am. Holdings Inc., No. 11CV6189 DLC, 2014 WL 4276420, at *7 (S.D.N.Y. Aug. 28,

2014) (denying certification of interlocutory appeal of limitations and repose issues), aff’d sub nom.

Fed. Hous. Fin. Agency for Fed. Nat’l Mortg. Ass’n v. Nomura Holding Am., Inc., 873 F.3d 85 (2d

Cir. 2017); Ellis v. Gen. Revenue Corp., No. 3:09-CV-1089 CFD, 2011 WL 2669155, at *1 (D.

Conn. July 6, 2011) (denying certification of interlocutory appeal of limitations issue).

       In suggesting that interlocutory review of timeliness rulings are commonplace, Plaintiffs

cite several distinguishable cases. See Mot. at 8 & n.9. In those cases—unlike here—appellate

review had a potentially dispositive, case-terminating impact. See, e.g., Int’l Fund Mgmt. S.A. v.

Citigroup Inc., No. 09-cv-8755 (S.D.N.Y. Mar. 15, 2012), ECF 56 (certifying request for

interlocutory review after denying motion to dismiss plaintiffs’ claims as time-barred, as reversal

could terminate the case); U.S. ex rel. Wood v. Allergan, Inc., No. 10-CV-5645, 2017 WL 1843288,

at *1 (S.D.N.Y. May 4, 2017) (noting that the appellate issue “could result in [the action’s]

termination”); UBS Ams., 858 F. Supp. 2d at 338 (determining that interlocutory review of the

timeliness ruling could “terminate the litigation” because certain actions would be barred

wholesale); Litzler v. CC Investments, L.D.C., No. 02-civ-6313, 2003 U.S. Dist. LEXIS 11009, at

*4 (S.D.N.Y. Mar. 6, 2003) (noting repeatedly that if the order to be appealed “were to be reversed,

the plaintiff’s action would be untimely, and would terminate”); see also Plumbers’ & Pipefitters’




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Local No. 562 Supplemental Plan & Tr. v. J.P. Morgan Acceptance Corp. I, No. 08 CV 1713 ERK

WDW, 2011 WL 6182090, at *5 (E.D.N.Y. Dec. 13, 2011) (stating the court “would be willing to

entertain a motion” to certify an order for interlocutory review “[b]ecause an order granting a

motion to intervene is not appealable,” so otherwise, party would be unable to attain review). By

contrast, Plaintiffs here do not argue—nor could they argue—that reversal of the Court’s Order

would terminate these actions. See Mot. at 9; Order at 2, App’x A. Thus, Plaintiffs’ cases hardly

suggest interlocutory review is needed for the much more limited repose ruling at issue here.

                                         CONCLUSION

       For these reasons, Defendants respectfully request that this Court deny the Motion and all

relief requested within it, together with such other and further relief this Court deems proper.

                                      Respectfully submitted,

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